       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 1 of 26



                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WISCONSIN


ELIZABETH A. ERICKSON,

              Plaintiff,

       v.                                                        Case No. 15cv320

STATE OF WISCONSIN,
MICHAEL GRECO, in his Official Capacity,
STEVE LAESCH, in his Official Capacity,
JOHN HAUGH, in his Official Capacity, and
PATRICIA NOLAND, in her Official Capacity,

              Defendants.


                                       COMPLAINT


       Plaintiff Elizabeth A. Erickson (hereinafter, “Ms. Erickson,”) by Cullen Weston

Pines & Bach LLP, her attorneys, alleges as her Complaint as follows:

                                    INTRODUCTION

       1.     This action is a claim for equitable relief, including declaratory and

injunctive relief brought to correct prohibited discrimination on the basis of disability,

protected by the Rehabilitation Act of 1973 (hereinafter, “§ 504”), 29 U.S.C. § 794 et seq.;

the Americans with Disabilities Act, as Amended by the ADA Amendments Act of 2008

(together, the “ADAAA”), 42 U.S.C. § 12101, et seq.; and 42 U.S.C. § 1983.

       2.     It is also a claim for intentional discrimination on the basis of disability

against the State of Wisconsin, for equitable relief, accrual of back pay, reinstatement, or

any additional relief available under the remedy portions of § 504.
       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 2 of 26



                               JURISDICTION & VENUE

       1.     This Court has original jurisdiction over Ms. Erickson’s claim pursuant to

28 U.S.C. § 1331 in that her cause of action arises under the Rehabilitation Act of 1973,

29 U.S.C. § 794, et seq.; substantive provisions of the ADAAA, 42 U.S.C. § 12101, et seq.;

and 42 U.S.C. § 1983.

       2.     Ms. Erickson has complied with all jurisdictional prerequisites under the

applicable sections of the ADAAA. In particular, Ms. Erickson filed a charge of

discrimination with the State of Wisconsin Department of Workforce Development,

Equal Rights Division on April 17, 2013, within 300 days of the actions complained of.

       3.     Venue in this Court is appropriate pursuant to 42 U.S. C. § 2000e-5(f)(3),

42 U.S.C. § 12117(a), and 28 U.S. C. § 1391, because the employment practices involved

in Ms. Erickson’s claims occurred primarily in Rhinelander, Wisconsin or elsewhere in

the Western District of Wisconsin.

       4.     On or about March 3, 2015, the U.S. Equal Employment Opportunities

Commission issued Ms. Erickson a Notice of Right to Sue the State of Wisconsin in the

United States District Court. A copy of the Notice of Right to Sue is attached hereto and

incorporated herein by reference as Exhibit A.

       5.     Ms. Erickson received the Notice of Right to Sue on March 5, 2015, and

has filed suit within 90 days of her receipt of the Notice of Right to Sue.

                                         PARTIES

       6.     Plaintiff Ms. Erickson is an adult citizen of the State of Wisconsin whose

address is W10136 Dakota Ave., Wautoma, WI 54982.

                                             2
          Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 3 of 26



          7.   Defendants Michael Greco, Steve Laesch, John Haugh, and Patricia

Noland, each served as an official of the State of Wisconsin assigned to the Department

of Workforce Development, Division of Vocational Rehabilitation (hereinafter

“Wisconsin DWD-DVR”) during the period relevant to this lawsuit. Each directly or

indirectly supervised, administered, or managed Ms. Erickson’s work on behalf of the

Wisconsin DWD-DVR. Each of them had effective input into decisions of whether to

hire her, retain her; each supervised and/or evaluated her; each participated in

decisions such as whether and what disability accommodation to provide to her and

when, and the decision to terminate her employment, all under color of state law. Each

of them is being sued in an official capacity under 42 U.S. C. sec. 1983 for equitable

relief.

                     FACTS RELEVANT TO ERICKSON’S CLAIM

          8.   The State of Wisconsin, as hereinafter described, is and was at all relevant

times, a recipient of federal financial assistance as that term is defined in 42 U.S.C. §§

2000d – 2000d-7. Because of its acceptance of such funds by the State of Wisconsin

DWD-DVR, the State of Wisconsin is not immune from suit pursuant to 42 U.S.C. §§

2000d – 2000d-7.

          9.   Ms. Erickson is an individual with disabilities: she has deafness in her

right ear since early childhood as a result of a cholesteatoma. She also has been

diagnosed as having a weakness in her auditory working memory which affects her

ability to understand and process information.



                                              3
       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 4 of 26



       10.    Ms. Erickson’s date of birth is September 29, 1964. She was age 48 when

she was terminated from her employment as a Counselor-in-Training with Wisconsin

DWD-DVR.

       11.    Defendant Wisconsin DWD-DVR is the agency of the State of Wisconsin

whose purpose it is to assist persons with disabilities to obtain, maintain, and advance

in employment. It operates a central administrative office in Madison, WI. At all times

relevant to this litigation, it employed Ms. Erickson as a Vocational Rehabilitation

Counselor-in-Training.

       12.    Wisconsin DWD-DVR receives the largest portion of its Vocational

Rehabilitation funding from the federal government: 74.36%, or $63,440,207 of its

operating expenses came from federal funding sources in Federal Fiscal year 2014. It is

a federal funding recipient as § 504 defines that term.

       13.    Due to her disabilities, Ms. Erickson was a client of Wisconsin DWD-DVR

services from approximately 2002 until she became an employee of Wisconsin DWD-

DVR in 2010. While she was a client of Wisconsin DWD-DVR, she listed becoming a

counselor as an employment goal.

       14.    In November 2010, Wisconsin DWD-DVR selected Ms. Erickson, who for

a short time remained a client as well as becoming an employee, for a project position at

the Wisconsin DWD-DVR in which she received a temporary license and could

experience the work of a vocational rehabilitation counselor.

       15.    In 2010-2011, while in the project position, Ms. Erickson worked in Rock

County, usually in Janesville, WI. The project position ended in August 2011.

                                             4
       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 5 of 26



       16.    Ms. Erickson was then selected to continue as an employee of the

Wisconsin DWD-DVR for a permanent position as a Vocational Rehabilitation

Counselor-in-Training beginning in mid-August, 2011.

       17.    In about March 2012, Ms. Erickson was “closed” successfully as a DVR

client, a status indicating that she successfully had achieved and transitioned to

permanent employment.

       18.    The Counselor-in-Training position was licensed for four (4) years. Ms.

Erickson completed about 19 months in that four-year period, until the Wisconsin

DWD-DVR terminated her for alleged failure to meet job performance standards on

February 2013.

       19.    While in the Counselor-in-Training permanent position, Ms. Erickson

worked primarily out of the Wisconsin DWD-DVR office in Rhinelander, WI. At all

times relevant to her claim, Ms. Erickson worked in counties within the Western District

of Wisconsin, and her supervisors at the Wisconsin DWD-DVR worked out of Wausau,

Wisconsin Rapids, and Madison, all within the Western District of Wisconsin.

       20.    Defendant Wisconsin DWD-DVR has known of Ms. Erickson’s status as

an employee with a disability since at least 2002, because she was a client with the

agency on account of her right ear hearing loss. She wears a hearing aid to partially

compensate for the loss of hearing in her right ear.

       21.    In November 2010, Ms. Erickson began a project position in the job of a

Vocational Rehabilitation Counselor-in-training working out of the DWD-DVR office in



                                             5
       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 6 of 26



Janesville, WI. She obtained a LPC-IT four-year training license from the then-

Wisconsin Department of Regulation and Licensing in order to undertake her duties.

       22.    In November 2010, Ms. Erickson completed a disability self-identification

and accommodation survey for the Wisconsin DWD-DVR during and related to her

project position.

       23.    In June 2011, Suzanne Lee, then-Wisconsin DWD-DVR Workforce

Development Area (“WDA”) Director for the Southwest Area, wrote a “To Whom it

May Concern” letter describing Ms. Erickson’s positive accomplishments as a project

DVR Counselor- in-Training for the first seven months in the Janesville, WI office. Ms.

Lee wrote about Ms. Erickson, “In my opinion, she has demonstrated the potential for a

long and successful career as a Vocational Rehabilitation Counselor and would be an

asset to any team.”

       24.    Ms. Lee also provided a positive Goals and Accomplishments Review

(“GAR”) report for the first six months of Ms. Erickson’s project service. Ms. Lee passed

Ms. Erickson from her probationary status at six months. In about July 2011, Ms.

Erickson was notified that the project position would be cut by the DVR on or about

August 26, 2011.

       25.    Ms. Erickson then sought, and Wisconsin DWD-DVR selected her for, a

DVR Counselor-in-Training permanent position assigned to the Rhinelander, Wisconsin

DWD-DVR office, beginning on August 15, 2011. Her new one-year probationary

period began on August 15, 2011 under WDA-6 Director Kim Pomeroy. Ms. Erickson

worked until August 12, 2011 in Janesville, Wisconsin.

                                            6
       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 7 of 26



       26.    In October 2011, Ms. Pomeroy e-mailed her work group to announce that

she had accepted a section chief position with Wisconsin DWD-DVR effective

November 11, 2011. She provided Ms. Erickson and other employees who had been

under her supervision with their GAR forms; however, Ms. Pomeroy never provided an

evaluation to Ms. Erickson.

       27.    Ms. Erickson received a new first-line supervisor, VR Supervisor Richard

Clark (“Mr. Clark”). Mr. Clark was overseen by a WDA Director in La Crosse, Amy

Grotzke, who never had any direct contact with Ms. Erickson. In February 2012, a new

direct supervisor, Patricia Noland (“Ms. Noland”), Director of WDA # 6 in Wisconsin

DWD-DVR also began working with Ms. Erickson. Director Noland did not assume

first-line supervision of Ms. Erickson, as Mr. Clark had retained both direct and clinical

supervision since Ms. Pomeroy’s departure.

       28.    On July 18, 2012, Ms. Erickson received a GAR from Mr. Clark indicating

that he ranked her as having “met standards” in 23 of 25 areas; one area needed

improvement and one area was unmet, in his assessment. Ms. Erickson filed a rebuttal

on August 7, 2012 regarding these two. Mr. Clark’s prior two evaluations of her at 3

months and 6 months had no negatives.

       29.    On or about July 26, 2012, despite his written assessment of Ms. Erickson,

Mr. Clark sent an e-mail to Wisconsin DWD-DVR managers Steve Laesch (“Mr.

Laesch,”), Employment Relations Program Chief, Human Resource Services Bureau,

Administrative Services Division, Wisconsin DWD, and to Ms. Noland, stating that Ms.

Erickson was nearing the end of her Probationary Period and DVR was desiring to not

                                             7
       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 8 of 26



pass her. He asked to talk to them before he met with Ms. Erickson a second time on

July 31, 2012.

       30.       On July 31, 2012, Mr. Clark e-mailed Mr. Laesch and Ms. Noland to say

that he had met with Ms. Erickson that morning. Ms. Noland participated by conference

call. Ms. Noland and Mr. Clark talked after the call and agreed to recommend that Ms.

Erickson’s Probation be ended unsuccessfully. Mr. Clark stated to Mr. Laesch and Ms.

Noland that he had not gone through this process for many years and might need their

insight. He asked Mr. Laesch and Ms. Noland what they needed from him before they

sent the letter ending Ms. Erickson’s probation unsuccessfully to Wisconsin DWD-DVR

Director Michael Greco (“Mr. Greco”).

       31.       On or about August 7, 2012, Ms. Erickson met with Ms. Noland for over

three hours. Ms. Erickson rebutted the accuracy of Mr. Clark’s allegations. Ms. Erickson

told Ms. Noland of her hearing disability and that she had a Disability Expanded

Certification on file in Madison. Ms. Erickson told Ms. Noland that her disability

entitled her to up to one year of additional training. Ms. Erickson asked to be provided

with additional training.

       32.       Ms. Noland included in her summary of the August 7 meeting that, “I

believe that Elizabeth brings up some good points in her arguments. Namely, her

previous GARS stated (for the most part) that her evals have met standard.”

       33.       Ms. Noland claimed incorrectly during their August 7 conversation that

Ms. Erickson had never asked for a disability accommodation, and said no one knew of

her hearing disability. But Ms. Erickson asserted that she had interviewed with Mr.

                                              8
       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 9 of 26



Clark before receiving the job in Rhinelander; she had told him of her hearing disability

and was not given a position. However, she had been hired for the project position at

Janesville at the first interview.

       34.    Mr. Clark would not discuss a correction in Ms. Erickson’s employment

record, even though she was meeting the requirements of the position.

       35.    Ms. Erickson told Ms. Noland on August 7, 2012 that Mr. Clark was

discriminating against her on the basis of her disability and was holding her to a higher

standard than that of other employees.

       36.    On August 10, 2012, DWD extended Ms. Erickson’s probationary period

by 215 hours due to absences from work during her probationary period. This extended

her probationary period from August 14, 2012 to September 20, 2012.

       37.    Ms. Erickson’s absences had consisted of approved absences that the

employer counted as follows: 46.75 hours of sick leave, 63.75 hours of vacation, 97.25

hours of legal and personal holidays, and 8 hours for a death. In addition to this, Ms.

Erickson had one remaining full week of leave time accrued for carry over.

       38.    Wisconsin Admin Code Chapter ER-MRS § 13.05(1) provided that if the

probationary employee had absences from employment totaling more than 174 work

hours or the prorated portion for part time employees, the probationary period shall be

extended by the length of time absent, except that up to 174 work hours or prorated

portion for part-time employees may be waived by the appointing authority. DWD

Policy # 450 contained similar language: If an employee had absences during probation

for any reason exceeding 174 work hours, the probationary period must be extended by

                                            9
       Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 10 of 26



the length of time absent. Thus, the extension of 215 hours for Ms. Erickson was

required.

       39.   On August 22, 2012, and on August 29, 2012, Ms. Erickson received

calendar scheduling entries canceling her face-to-face time for meeting with Mr. Clark

regarding supervision. The calendar entry in each case now indicated that Mr. Clark

would be doing “supervision by observation,” although he was not meeting personally

with Ms. Erickson.

       40.   On September 4, 2012, Mr. Laesch advised Amanda Jorgenson (“Ms.

Jorgenson”), AA/EEO & Training Chief at Wisconsin DWD HR that Ms. Erickson was

on a probation extension and was in serious jeopardy of not passing probation. He

informed Ms. Jorgenson that a part of Ms. Erickson’s struggle meeting standards was

due to a disability. Mr. Laesch asked Ms. Jorgenson if there were any reasonable

accommodation that could be made to help her perform the essential functions of her

job.

       41.   On September 5, 2012, Ms. Erickson learned from Justin Tomer, (“Mr.

Tomer”) Division of Professional Credentialing, Wisconsin Department of Safety and

Professional Services, that supervision experience rules required face-to-face contact,

not online or telephone contact. Thus, Ms. Erickson learned that Mr. Clark’s new

“supervision by observation” procedure did not meet supervision requirements.

       42.   In early September 2012, Mr. Clark withdrew as Ms. Erickson’s clinical

supervisor. Although Ms. Erickson had asked for a different supervisor over a month

before, Ms. Noland denied the request. Ms. Erickson had not received another

                                            10
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 11 of 26



supervisor and Mr. Clark did not perform in-person supervision of her for some time

before he withdrew. Ms. Erickson therefore never received credit for earned client time

during weeks where he had not provided face-to-face supervision, which totaled about

90 hours, or about 10% of her training license requirement for face-to-face client time.

       43.    In September 2012, Ms. Erickson requested, and Ms. Jorgenson provided,

an Employee Accommodation Request form for Ms. Erickson to complete, and a

Medical Provider Questionnaire form for Ms. Erickson’s doctor to complete.

       44.    On September 16, 2012, Ms. Erickson advised Mr. Tomer that she had

located a potential clinical supervisor; she asked for verification of whether the

individual would qualify, and the process she should follow.

       45.    On September 17, 2012, Ms. Jorgenson on behalf of Wisconsin

DWD/DVR, notified Ms. Erickson that her probationary period would be extended by

three months to December 16, 2012 in order to aid her with accommodations in the

work place.

       46.    On September 17, 2012, Ms. Erickson acknowledged the extension of her

probationary period, and advised that she had another clinical supervisor to replace Mr.

Clark; her last record of clinical hours had been provided to Mr. Clark on July 30, 2012.

Ms. Erickson was required to pay for her own clinical supervision out-of-pocket, since

Ms. Noland declined to provide another clinical supervisor, although one was available

whom, Mr. Tomer stated, met the requirements.

       47.    Ms. Erickson renewed and updated documentation of her disability

beginning in the late summer of 2012. Sarah R. Kortenkamp, Ph.D. of the Department

                                            11
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 12 of 26



of Neuropsychology at Marshfield Clinic, drafted Ms. Erickson a “To Whom it May

Concern” letter dated September 18, 2012 describing Ms. Erickson’s severe right ear

hearing loss, coupled with a relative weakness in Ms. Erickson’s auditory working

memory. Dr. Kortenkamp opined that care should be taken to limit background noise

and competing auditory stimuli. As well, Ms. Erickson would benefit from having as

much information as possible presented in a visual format. Providing her with written

directions and policies in addition to those described verbally would maximize Ms.

Erickson’s efficiency and success, according to Dr. Kortenkamp, particularly in view of

Ms. Erickson’s high scores on tasks of visual memory, verbal comprehension,

perceptual reasoning and visual problem-solving.

       48.    Heidi Grosskopf, AuD, of Ministry Medical group drafted a letter dated

October 5, 2012, after completing an audiogram/impedance studies report regarding

Ms. Erickson’s hearing, for use in documenting her need for accommodation. She also

indicated the benefit Ms. Erickson would receive from written instructions.

       49.    On October 31, 2012, Ms. Jorgenson e-mailed Mr. Greco, Ms. Noland, and

other Wisconsin DWD/DVR managers because medical documentation for Ms.

Erickson, had been slow in arriving despite Ms. Erickson’s diligent efforts to obtain it.

Ms. Jorgenson recommended that another three month probationary extension would

be needed (a total of six months from Ms. Erickson’s original probation end date.)

       50.    On November 1, 2012, Ms. Erickson provided Dr. Kortenkamp’s and Dr.

Grosskopf’s documentation, signed the disability accommodations request form and

faxed them to Ms. Jorgenson. Her disabilities were: (1) Hearing loss, right ear; and (2)

                                            12
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 13 of 26



weaker auditory processing. Ms. Erickson requested the following accommodations:

(1) Written responses and written direction; (2) audio recordings of information

presented, so as to write down information and clarify it by listening again; (3) more

time to accomplish tasks.

       51.    On November 1, 2012, Jack Lawton, Administrator, Division of Merit

Recruitment and Selection, Wisconsin Office of State Employment Relations, approved

the request sent him that day by Human Resources Manager, Lynda Hanold, DWD, to

extend the probationary period of Ms. Erickson as a Vocational Rehabilitation

Counselor with the Wisconsin DWD/DVR for an additional 3 months (to March 16,

2013). The purpose of the extension was to aid her in obtaining accommodations in the

workplace that would allow her to perform her job functions satisfactorily and give her

additional time to “achieve the knowledge, skills and abilities to competently perform

the required tasks for her position.

       52.    On November 5, 2012, Ms. Noland began drafting a document on behalf

of DVR recommending against extending Ms. Erickson’s probation due to “potential

liability to DVR as she has shown a lack of professionalism and ethics and has had a

negative impact on DVR consumers.”

       53.    On November 20, 2012, Jo Futrell, Human Resources, Wisconsin DWD, e-

mailed Ms. Erickson regarding the status of her disability accommodation: Ms.

Erickson’s request for “written responses and written direction” had been approved

with modifications.



                                           13
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 14 of 26



      54.    According to Ms. Futrell’s proposal on behalf of Wisconsin DWD, the

following accommodations or modification of accommodations requests would be

provided to Ms. Erickson:

             (1) Responses and directions for training, work assignments, and

                expectations would be provided to Ms. Erickson in writing. For in-

                office, face-to-face consultations, individuals meeting with Ms.

                Erickson would enter a case note in the consumer’s file to capture the

                information shared at the consult. For Team meetings, minute taking

                would continue to rotate among attendees, but those taking minutes

                would be asked to follow a standard format with sufficient detail,

                particularly regarding policy interpretations and procedural

                discussions. Written materials would be provided for in-person

                trainings. Sample IEPs (“Individualized Plans for Employment”) for

                select disabilities would be provided.

             (2) CART (“Communication Access Real Time Translation”) Services

                would be provided for Ms. Erickson’s use in staff meetings and

                trainings. They would be available in-person for group meetings and

                trainings, and/or remotely by phone for one-on–one meetings and

                would yield a transcription for use following the meeting. These

                included Dragon Naturally Speaking software and written instructions

                and either in-person training or a tutorial on how to set up and

                manage the features of the software.

                                          14
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 15 of 26



             (3) Ms. Erickson’s request for audio recording of training information and

                work directions was denied. DVR stated its belief that the

                accommodations in (1) and (2) were the best options available to assist

                Ms. Erickson in performing the essential functions of her job.

       55.   On November 20, 2012, Ms. Erickson thanked Ms. Futrell and stated,

“Thank you very much! I believe you captured my concern areas, and areas needed to

help me meet expectations. Very appreciative, Elizabeth Erickson”

       56.   On November 23, 2012, Ms. Noland updated the document arguing

against extending Ms. Erickson’s probation that she had begun drafting on November

5, 2012.

       57.   On November 27, 2012, Ms. Erickson asked Ms. Jorgenson to provide the

status of her accommodations as she was not yet receiving accommodations. She also

wanted to know the status of her probation period which she believed was scheduled to

end in December 2012. In this communication, Ms. Erickson additionally documented

many supervisory oddities, delays, and delays on case approval caused by Ms. Noland.

       58.   On November 29, 2012, Ms. Noland forwarded to Mr. Laesch the final

version of her document arguing against extending Ms. Erickson’s probation, upon

which she had been working since November 5, 2012.

       59.   On December 4, 2012, Ms. Futrell advised Ms. Erickson that she had

shared the accommodations proposal with Ms. Noland and the Division

representatives. They had some questions which would be addressed in a meeting and

then Ms. Futrell would get back to Ms. Erickson. Ms. Futrell reassured Ms. Erickson

                                          15
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 16 of 26



that this was part of the flexible interactive process; she anticipated that they would find

a compromise that would address Ms. Erickson’s needs.

       60.    On December 12, 2012, Ms. Erickson rebutted Ms. Noland’s 8/15/2012 -

9/20/2012 PIP-GAR allegations. As well, she reminded Ms. Noland of her two

disabilities: auditory (hearing) disability and auditory processing weakness.

       61.    On December 12, 2012, John Haugh (Mr. Haugh”), Acting Director,

Bureau of Consumer Services, Wisconsin DWD/DVR, told Ms. Futrell that he had

modified the first draft accommodation by removing the reference to assistance with

note taking. He commented, “other accommodations look reasonable.” The language he

removed had read, “Case consults: for in-office, face-to-face consultations, those

meeting with Elizabeth will enter a case note in the individual consumer’s file to

capture the information shared at the consult.” He did not provide a reason for his

deletion.

       62.    On December 13, 2012, Mr. Greco, Division Administrator, signed Ms.

Erickson’s accommodation memo, as modified by Mr. Haugh. No one communicated

with Ms. Erickson before finalizing her accommodation to determine if the modified

accommodation would be effective for her, nor to determine whether she had any

alternatives to suggest to the portions that were denied.

       63.    Also on December 13, 2012, Ms. Jorgenson wrote an e-mail to Ms. Erickson

extending her probation for another two months, to February 15, 2013 (not the three

months that Ms. Hanold, as DVR Human Resources manager had originally requested,

and Mr. Lawton of OSER had approved.)

                                            16
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 17 of 26



      64.    The letter enclosed with the e-mail explained,

             This extension was obtained to aid you with accommodations in the
             workplace that will allow you to perform the job functions of a
             Vocational Rehabilitation Counselor satisfactorily and give you
             additional time to achieve the knowledge, skills and abilities to
             competently perform the required tasks for your position.

             Your probationary period which was scheduled to end December 16,
             2012, and will now be extended to February 15, 2013. However, please be
             aware that you will need to make significant performance improvements
             during this time period, or your probation may end prior to February 15,
             2013.

Amanda L. Jorgenson, AA/EEO Program Chief, Human Resources Services Bureau,
Administrative Services Division, Department of Workforce Development. Letter to
Elizabeth Erickson, 12/13/2012.

      65.    The administrator had the discretion to grant up to a one-year

probationary period extension of time under Wis. Stat. 230.28(1)(bm), but it granted Ms.

Erickson only a two-month extension of time during which to receive accommodations

and improve her work performance.

      66.    Ms. Erickson responded to Ms. Jorgenson on December 13, 2012, asking,

among other things, if she would have advance notice of GAR expectations, and

whether accommodations would be in place.

      67.    On December 17, 2012, Ms. Erickson rebutted a list of work concerns that

Ms. Noland had provided to her on or about November 30, 2012. All of these concerns

on Ms. Noland’s part discussed events before the Wisconsin DWD/DVR’s

determination on December 13, 2012 to provide a disability accommodation to Ms.

Erickson.




                                            17
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 18 of 26



      68.     On or about January 3, 2013, Ms. Noland recorded that a copy of Ms.

Erickson’s signed disability accommodations had been provided to Ms. Erickson from

Wisconsin DWD/DVR. Ms. Erickson received this copy of the signed accommodation

on or about January 5, 2013.

      69.    On January 4, 2013, Ms. Erickson received an e-mail with instructions on

how to use CART services (services that were to be provided as one of her disability

accommodations). However, she used CART services only one time prior to the ending

of her employment, primarily because Ms. Noland canceled, changed, or failed to

provide notice on time for meetings at which she could have used CART services prior

to Ms. Erickson’s termination. One meeting on fiscal occurred during which

participants had, on paper in front of them, the information that was presented. CART

services were unnecessary in that one instance.

      70.    During January 2013, Ms. Erickson had no opportunity to use her

approved accommodations to improve her work performance. In fact, for the period

July 2012 through and including February 14, 2013, the date of her termination, Ms.

Erickson received none of the other approved workplace accommodations to aid her

work performance, other than one CART service on February 13, 2013.

      71.    On January 31, 2013, after hours, Ms. Noland sent Ms. Erickson a Final

GAR review meeting summary for the probationary period August 15, 2012 – January

31, 2013. The GAR stated that Ms. Erickson had failed to meet job requirements in

every one of the five areas of assessment. This conclusion contrasted with Mr. Clark’s

assessment on July 18, 2012 that Ms. Erickson had met all but two of 25 areas, and also

                                           18
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 19 of 26



with Ms. Noland’s assessment on August 7, 2012 that her evaluations had met

standards. This Final GAR reported on a period of time when Ms. Erickson was not

provided with accommodations to aid her work performance. Ms. Noland’s GAR also

covered 18 months in which she negatively re-evaluated or re-wrote Mr. Clark’s

evaluations.

      72.      On February 13, 2013, Ms. Erickson drove with co-workers to an out-of-

office work meeting, leaving at about 7:30 a.m. Because of the early hour, she did not

see her notice of a pre-termination meeting that the employer had sent. She learned of

the meeting only late in the day on February 13, 2013 when she encountered Ms.

Noland. Ms. Erickson handed her the rebuttal that she had prepared to the GAR

provided to her on January 31, 2013. Ms. Noland then verbally told Ms. Erickson of the

pre-termination meeting. Ms. Erickson called Mr. Laesch to advise him that she had not

received notice and objected to it going forward. However, he responded that it was too

late, she should have checked her e-mail.

      73.      Aimee Jahnke, a Wisconsin DWD/DVR supervisor from the DVR Green

Bay office, led Ms. Erickson’s pre-termination meeting on February 14, 2013 at 8:00 a.m.

Present were Tom Younger from the Job Center, Ms. Jahnke, Ms. Soulier-Ramsey as Ms.

Erickson’s representative, and Ms. Erickson. Ms. Jahnke read from a paper. She asked

Ms. Erickson to inform her of any mitigating circumstances, but only those that had

occurred since 4:40 p.m. the prior day, February 13, 2013. Ms. Erickson and Ms. Soulier-

Ramsey clarified that was all that Ms. Erickson could talk about. Ms. Erickson was not



                                            19
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 20 of 26



provided any accommodations for the pre-termination meeting. The meeting took less

than fifteen minutes.

      74.    At 8:15 a.m., Ms. Erickson e-mailed Division Administrator Mr. Greco

stating that she had not been provided disability accommodations for the meeting that

had just ended, and that the GARs leading up to the February 14 meeting had been

unjust and fraudulent. She looked forward to his investigation. He did not respond.

      75.    Division Administrator Mr. Greco and Bureau Director John Haugh

signed a letter dated February 14, 2013 terminating Ms. Ericson from her probationary

employment with the Wisconsin DWD/DVR effective immediately because her job

performance did not meet the required standards that must be met for the position. The

letter encouraged her, though, to reapply for DVR employment.

      76.    Ms. Noland arrived following the meeting on February 14, while Ms.

Erickson was working, and asked her to leave the workplace without finishing the work

she was then performing. Ms. Erickson complied after sorting the materials she had

been working on to enable follow-up by others, and then gathered her personal

possessions and removed them. She then left the workplace.

                           First Claim for Relief
       VIOLATIONS OF SEC. 504 OF THE REHABILITATION ACT OF 1973,
                          29 U.S.C. § 794, Et Seq.

      77.    Erickson re-alleges the facts in paragraphs 1 through 76 above as if fully

alleged herein.




                                           20
        Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 21 of 26



        78.      The Wisconsin DWD-DVR intentionally discriminated against Ms.

Erickson in the terms and conditions of her employment with the Wisconsin DWD-DVR

as described above;

 79.             The Wisconsin DWD-DVR intentionally failed to provide reasonable

       accommodations to Ms. Erickson for her known disabilities; and

        80.      The Wisconsin DWD-DVR intentionally terminated Ms. Erickson from

employment because of her disabilities.

        81.      Ms. Erickson has been damaged by Wisconsin DWD/DVR’s intentional

violations of § 504 of the Rehabilitation Act inasmuch as Ms. Erickson:

              (a) Has lost her Counselor-in-Training employment since February 14, 2013

                 with resulting pecuniary losses;

              (b) Has limited and compromised her pension benefits available through the

                 State of Wisconsin Department of Employee Trust Funds and may have

                 prevented her from achieving a viable retirement income.

              (c) Has limited or rendered impossible her ability to pursue her DVR career

                 goal of pursuing a full-time vocational counseling career due to Mr. Clark

                 withholding and not crediting her face-to-face counselor-in-training hours

                 and completing her Counselor-in-Training Program; and

              (d) These violations are ongoing.




                                                  21
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 22 of 26



                          Second Claim for Relief:
VIOLATION OF 42 U.S.C. § 1983 (“§ 1983”) BY DEFFENDANTS GRECO, LAESCH,
HAUGH, AND NOLAND, EACH IN THEIR OFFICIAL CAPACITIES WITH THE
  STATE OF WISCONSIN DWD-DVR AND UNDER COLOR OF STATE LAW.

       82.    Ms. Erickson realleges paragraphs 1 through 81 above as if fully alleged

herein.

       83.    All actions of officials Greco, Laesch, Haugh, and Noland, who are

employed by the State of Wisconsin DWD-DVR were taken under color of state law.

They are sued in their official capacity.

       84.    Defendant State officials failed to follow the requirements of § 504 of the

Rehabilitation Act and the ADAAA to accommodate employees with disabilities such

as Ms. Erickson, failed to adequately train, educate, and supervise managers and

officials responsible for daily operation of its agencies, and specifically failed to monitor

the process for identifying and implementing disability accommodations, to ensure that

qualified employees such as Ms. Erickson with disabilities had an opportunity to work

with the assistance of disability accommodations.

       85.    Defendants Greco, Laesch, Haugh, and Noland engaged in discriminatory

practices in their official capacity with malice or reckless and deliberate indifference to

Ms. Erickson’s federally-protected right to be free from employment discrimination

based upon her actual disability, her perceived disability, and her record of disability in

violation of the sec. 504 of the Rehabilitation Act and § 1983 and the ADAAA.

       86.    As a result of the actions in discriminating against her and failing to

accommodate her, Ms. Erickson has lost her employment position, has been unable to


                                             22
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 23 of 26



complete training in her chosen field, and has been wrongfully deprived of the ability to

complete the face-to-face supervision requirements for licensure in her chosen field, all

in violation of sec. 504 of the Rehabilitation Act, the ADAAA and § 1983.

       87.    As a result of the Defendants Greco, Laesch, Haugh, and Noland’s actions

engaging in discrimination forbidden by federal statutes, Ms. Erickson has suffered

irreparable harm in the loss of her prospective career.

       88.    As officials of the State of Wisconsin, DWD-DVR, all of the actions of Mr.

Greco, Mr. Laesch, Mr. Haugh, and Ms Noland regarding Ms. Erickson, including but

not limited to all actions related to her disabilities, her employment performance and

their evaluation of that performance, her qualifications for licensure and for

employment, and her ability to obtain a disability accommodation and additional

training to assist her with her employment, were actions taken under color of state law

in violation of federal statutes.

       89.     Defendants Greco, Laesch, Haugh and Noland in their official capacities

engaged in discrimination with malice or reckless and deliberate indifference to Ms.

Erickson’s federally-protected right to be free from employment discrimination based

upon her disabilities, her perceived disabilities, and her record of disabilities, all in

violation of § 504 of the Rehabilitation Act and the substantive provisions of the

ADAAA, and in violation of 42 U.S.C. § 1983.

       90.    As a result of the official actions of Mr. Greco, Mr. Laesch, Mr. Haugh, and

Ms. Noland, Ms. Erickson has suffered irreparable harm in that she has lost her

employment position, has been unable to complete training in her chosen field, and has

                                              23
      Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 24 of 26



been wrongfully deprived of the ability to complete the face-to-face supervision

requirements for licensure in her chosen field, all in violation of § 504 of the

Rehabilitation Act, the substantive provisions of the ADAAA, and in violation of 42

U.S.C. § 1983.

                                   CLAIM FOR RELIEF

       Pursuant to the first cause of action under § 504 of the Rehabilitation Act:

              A. Declare that Ms. Erickson’s rights under Section 504 of the

                 Rehabilitation Act and substantive portions of the ADAAA were

                 violated;

              B. Enjoin the Defendants from any engaging in any further prohibited

                 discrimination against Ms. Erickson.

              C. Provide any other remedies allowed under § 504 of the Rehabilitation

                 Act to compensate Ms. Erickson for lost back pay and to assist with

                 future costs necessary and incidental to implement the equitable

                 remedies described above, including travel and housing costs if the

                 remedies cannot be completed at DVR locations within reasonable

                 commuting distance from her home.

              D. Provide Attorney’s fees, litigation expenses, and costs incurred in

                 obtaining relief and pursuing this action.

              E. Any other equitable relief the court deems just and proper.

       Pursuant to the second cause of action under 42 U.S.C. § 1983:



                                             24
Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 25 of 26



      A. Order Restoration of Ms. Erickson to her position as a VR Counselor-

         in-Training with recognition of time served and completed face-to-face

         hours acknowledged in writing as completed. If face-to-face hours

         cannot be verified or documented, provide a reasonable opportunity to

         earn them a second time.

      B. Order an extension of time for Ms. Erickson to learn and understand

         the material, and to obtain the required skills, including opportunities

         to ask questions or request assistance if necessary.

      C. Order correction of Ms. Erickson’s employment record including

         removal of false and discriminatory allegations in GARs, PIPs, or any

         other evaluatory tools containing erroneous statements;

      D. Order any other opportunities for Ms. Erickson to enable her to

         continue and complete the VR Counselor-in-Training program.

      E. Order implementation of reasonable accommodations for Ms.

         Erickson’s disabilities. Said reasonable accommodations shall be

         selected and agreed during a flexible interactive process. Said

         reasonable accommodations shall be agreed to be effective for Ms.

         Erickson and shall be implemented and available from the start of her

         return to work.

      F. Order that supervision for Ms. Erickson be provided by individuals

         who are trained in EEO law, and in the substantive requirements of the



                                    25
     Case: 3:15-cv-00320-wmc Document #: 1 Filed: 05/28/15 Page 26 of 26



                  ADAAA and who are individuals who did not participate in the

                  events complained of in this litigation.

      Pursuant to both causes of action:

            A. Provide Attorney’s fees, litigation expenses, and costs incurred in

                  obtaining relief and pursuing this action.

            B. Any other equitable relief the court deems just and proper.

      Dated this 28th day of May, 2015.

                                   CULLEN WESTON PINES & BACH LLP


                                   /s/Linda L. Harfst
                                   Lester A. Pines, SBN 1016543
                                   Linda L. Harfst, SBN 1020761
                                   Attorneys for Plaintiff

Mailing Address

122 West Washington Avenue
Suite 900
Madison, Wisconsin 53703
(608) 251-0101 (telephone)
(608) 251-2883 (facsimile)
pines@cwpb.com
harfst@cwpb.com




                                             26
